Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 1 of 6 PageID #: 328




                                          s/John Gleeson
Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 2 of 6 PageID #: 329
Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 3 of 6 PageID #: 330
Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 4 of 6 PageID #: 331
Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 5 of 6 PageID #: 332
Case 1:06-cr-00018-JG   Document 130   Filed 05/14/08   Page 6 of 6 PageID #: 333
